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                                UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

                                       Case No.: 1:20-CV-24523-KMW

   GILEAD SCIENCES, INC.; and
   GILEAD SCIENCES IRELAND UC,

            Plaintiffs,

   v.

   MEDICAL CENTER, INC.; ALLIED HEALTH
   ORGANIZATION, INC.; BAIKAL MARKETING
   GROUP, INC.; A BETTER YOU WELLNESS
   CENTER, LLC; 3RD STEP RECOVERY GROUP, INC.
   D/B/A CONTINENTAL WELLNESS CENTER;
   COMMUNITY HEALTH MEDICAL CENTER LLC;
   DOCTORS UNITED, INC. D/B/A DOCTORS UNITED
   GROUP; FLORIMED MEDICAL CENTER CORP.;
   JUAN JESUS SALINA, M.D. CORP.; LABS4LESS LLC;
   PHYSICIAN PREFERRED PHARMACY, INC.;
   POSITIVE HEALTH ALLIANCE, INC.; PRIORITY HEALTH
   MEDICAL CENTER, INC.; TESTING MATTERS INC.;
   UNITED CLINICAL LABORATORY LLC; UNITED
   PHARMACY LLC; WELL CARE LLC; TAMARA
   ALONSO; JEAN ALEXANDRE; CHENARA ANDERSON;
   MYRIAM AUGUSTINE; TWIGGI BATISTA; ARSEN
   BAZYLENKO; MICHAEL BOGDAN; BARBARA BRYANT;
   AUGUSTINE CARBON; JENNIFER JOHN CARBON;
   KHADIJAH CARBON; ALEJANDRO CASTRO;
   JOHN CATANO; JEAN CHARLOT; SHONTA DARDEN;
   ALEXANDER EVANS; MARIA FREEMAN; JESULA GABO;
   SHAJUANDRINE GARCIA; BARBARA GIBSON;
   KERLINE JOSEPH; VIERGELA JOSEPH; ANDRE KERR;
   GARY KOGAN; CASSANDRA LOUISSAINT; CORA MANN;
   NICK MYRTIL; IFEOMA NWOFOR; ERIK JOSEPH PAVAO;
   WILLIE PEACOCK; MICHAEL PIERCE; MICHEL POITEVIEN;
   JEAN RODNEY; TATIANA ROZENBLYUM;
   JUAN JESUS SALINA; DIMITRY SHAPOSHNIKOV;
   ROMAN SHEKHET; KIRILL VESSELOV;
   MIKHAIL VESSELOV; and TOMAS WHARTON,

         Defendants.
   _____________________________/

                                            NOTICE OF APPEARANCE


                                          DIMOND KAPLAN & ROTHSTEIN, P.A.
        OFFICES AT GRAND BAY PLAZA. 2665 SOUTH BAYSHORE DRIVE. PENTHOUSE 2B. MIAMI, FL 33133 TEL. 305.374.1920
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          David A. Rothstein, Esq. and Lorenz Michel Prüss of the law firm of Dimond Kaplan &

   Rothstein, P.A. hereby enter their appearance as counsel for Defendants Positive Health Alliance,

   Inc.; Barbara Bryant; Dimitry Shaposhnikov; Erik Joseph Pavao; Gary Kogan; Cassandra

   Louissaint; Cora Mann; Kerline Joseph; Andre Kerr; Shonta Darden; Jesula Gabo; and Shajuandrine

   Garcia. A copy of all future pleadings and correspondence in this matter should be sent to the

   undersigned counsel.


                                                             Respectfully submitted,

                                                             DIMOND KAPLAN & ROTHSTEIN, P.A.
                                                              Attorneys for Defendants
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                                                       By: /s David A. Rothstein
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                                   Secondary E-Mail Address: ZAlfaro@dkrpa.com

                                         CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY that on November 16, 2020, a true and correct copy of the

   foregoing was filed with the Clerk of Court and served upon counsel of record using the CM/ECF

   system.

                                                             By: /s David A. Rothstein
                                                                    David A. Rothstein, Esq.




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                                        DIMOND KAPLAN & ROTHSTEIN, P.A.
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